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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS

                                                   )
UNITED STATES OF AMERICA,                          )
                                                   )
                      Plaintiff,                   )
                                                   )
              v.                                   )        Case No. 07-20007
                                                   )
AARON HARRIS,                                      )
                                                   )
                      Defendant.                   )
                                                   )



                           MEMORANDUM AND ORDER

       Aaron Harris was convicted of conspiracy to distribute or possess with the

intent to distribute more than fifty grams of cocaine base. He received a 151-month

prison sentence. Mr. Harris has now filed a motion (doc. 142) requesting that the

court appoint him a lawyer, because he wishes to challenge his sentence based on a

recent Supreme Court case, Spears v. United States, 129 S. Ct. 840 (2009).

       There is, however, no constitutional right to counsel beyond the direct appeal

of a conviction. Swazo v. Wyo. Dep’t of Corrs., 23 F.3d 332, 333 (10th Cir. 1994).

“[T]he right to appointed counsel extends to the first appeal of right, and no further.”

Pennsylvania v. Finley, 481 U.S. 551, 555 (1987).

       This court is confident, judging from the content of the motion itself, that Mr.

Harris is adequately able to identify and argue the issue he seeks to raise. The court

will reassess the issue of appointed counsel at a later date if the situation warrants it.
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      IT IS ORDERED BY THE COURT that defendant’s motion for

appointment of counsel (doc. 142) is denied.

      IT IS SO ORDERED this 8th day of September, 2010.



                                  s/ John W. Lungstrum
                                  John W. Lungstrum
                                  United States District Judge




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